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          in the third degree shall be punished by imprisonment for
          not less than three nor more than twenty-one years, in the
          territorial penitentiary.
                SEO. 5. It is the true intent of this act to repeal said Intent of repeal.
          sections 687, 688, 689, 695, 699, 700, 702 and 703, referred
          to in the first section of this act, only so far as the same
          apply to offenses committed after the passage of this act, but
          the said sections are to be held and remain in force and ap-
          ply to all acts done and offenses committed prior to the pas-
           sage of this act, and all pending prosecutions and those here-
          after instituted for acts done prior to the passage of this
           act shall be commenced and carried on and punishment
          be had under the said sections 667,          688, 689, 695, 699,
          700, 702 and 703, which said sections are hereby continued
          in force onlyfor that pnrpose.
               SEc. 6. This act shall be in force from and after its
          passage.
               Approved February 24, 1887.




                                CHAPTER XXX.

                               CRIMES-WEAPONS.


           AN ACT to prohibit the unlawful carrying and use of deadly
                                    weapons.


           Be it enacted by the Legislative Assembly of the Territory of
               New Mexico:
                SECTION 1. That any person who shall hereafter carrva         Carrying an.
          deadly weapon, either concealed or otherwise, on or about
          the settlements of this territory, except it be in his or her
          residence, or on his or her landed estate, and in the lawful
          defense of his or her person, family or property, the same
          being then and there threatened with danger, or except
          such carrying be done by legal authority, upon conviction
          thereof shall be punished by a fine of not less than fifty dol-
          lars, nor more than three hundred, or by imprisonment not
          less than sixty days, nor more than six months, or by both
          such fine and imprisonment, in the discretion of the court or
          jury trying the same.


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       rsningany         SEC. 2. Any person who shall draw a deadly weapon
                   on another, or who shall handle a deadly weapon in a threat-
                   ening manner, at or towards another, in any part of this
                   territory, except it be in the lawful defense of himself, his
                   family or his property, or under legal authority, upon con-
                   viction thereof, shall be fined in any sum not less than one
                   hundred dollars, nor more than five hundred dollars, or by
                   imprisonment at hard labor in the county jail or territorial
                   penitentiary not less than three months nor more than eigh-
                   teen months, or by both such fine and imprisonment, in the
                   discretion of the court or jury trying the same.
  Assault with           SEC. 3. Any person who shall unlawfully assault or
    deadly weapon. strike at another with a deadly weapon,
                                                                 upon conviction
                   thereof shall be punished by a fine not exceeding one thou-
                   sand dollars, or by imprisonment at hard labor in the county
                   jail or territorial penitentiary, not exceeding three years, in
                   the discretion of the court or jury trying the same.
    dadlyweapon.         SEC. 4. Any person who shall unlawfully draw, flourish
                   or discharge a rifle, gun or pistol within the limits of any
                   settlement in this territory, or within any saloon, store, pub-
                   lic hall, dance hall or hotel, in this territory, except the
                   same be done by lawful authority, or in the lawful defense
                   of himself, his family or hisproperty, upon conviction there-
                   of shall be punished by a fine of not more than one thou-
                   sand dollars, or by imprisonment for a term of not more
                   than three years, or by both such fine and imprisonment, in
                   the discretion of the court or jury trying the same. The
                   word "settlement," as used in this act, shall be construed to
                   mean any point within three hundred yards of any inhabited
  Insulting person house, in the territory of New Mexico.
    while armed.         SEC. 5. Any person being armed with a deadly weapon,
                   who shall, by words, or in any other manner, insult or as-
                   sault another, upon conviction thereof, shall be punished by
                   a fine of not less than one hundred dollars, nor more than
                   three hundred dollars, or by imprisonment at hard labor in
                   the county jail or territorial penitentiary for not less than
                   three months, nor more than one year, or by both such fine
                   and imprisonment, in the discretion of the court or jury
                   trying the same.
  Jurisdiction of        SEC. 6. Justices of the peace, as well as the district
                   courts shall have concurrent jurisdiction of all offenses com-
                   mitted under the first section of this act; but ofoffenses com-
                   mitted under the remaining sections hereof, justices of the
                   peace shall not have jurisdiction except as committing
                   magistrates, and it is made the duty of the justices of the
                   peace of the several counties of the territory before whom
                   any person is brought or arraigned for the violation of any
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            of the above sections, other than section one of this act, if
            reasonable grounds exist to believe such person guilty, to
            bind such person over in a good and suflicient bond to the
            district court of such county, and in default of such bond to
            commit to jail as in other felonies.
                  SEC. 7. It shall not be necessary, in the trial of any m'ust prove.
            cause arising under the provisions of this act to prove that
            the person charged was not, at the time of violating the said
            provisions, in the lawful defense of himself, his family or
            property, or acting by lawful authority, but the accused
            must prove that lie was, at such time, within the exception
            claimed.                                                      Deadly weapon.
                  SEc. S. Deadly weapons, within the meaningof thisact, definition of.
            shall be construed to mean all kinds and classes of pistols,
            whether the same be a revolver, repeater, derringer, or any
            kind or class of pistol or gun; any and all kinds of daggers,
            bowie knives, poniards, butcher knives, dirk knives, and
            all such weapons with which dangerous cuts can be given,
            or with which dangerous thrusts can be inflicted, including
            sword canes, and any kind of sharp pointed canes: as also
            slung shots, bludgeons or any other deadly weapons with
            which dangerous wounds can be inflicted.
                  SEC. 9. Persons traveling may carry arms for their own    rre a
            protection while actually prosecuting their journey and may
            pass through settlements on their road without disarming;
            but if such travelers shall stop at any settlement for a
           -longer time than fifteen minutes they shall remove all arms
            from their person or persons, and not resume the same un-
            til upon eve of departure.
                  SEC. 10. Sheriffsand constablesof the various counties,   y arms hen.
            and marshals and police of cities and towns, in this terri-
            tory, and their lawfully appointed deputies, may carry
            weapons, in the legal discharge of the duties of their res-
           pective offices, when the same may be necessary, but it
           shall be for the court or the jury to decide from the ev-
           idence whether such carrying of weapons was necessary or
           not, and for an improper carrying or using deadly weapons
           by an officer, he shall be punished as other persons are pun-
           ished, for the violation of the preceding sections of this act.
                 SEC. 11. Every keeper of hotel, boarding house, bar Duty of hote
           room, drinking saloon or place where liquor is sold, or         e&epea.on
           dance hall, in this territory, shall keep conspicuously posted
           up a copy of this act, in both the English and Spanish lan-
           guages, and it is hereby made the duty of every such keeper
           of a hotel, boarding house, bar room,drinking saloon or place
           where liquor is sold, or dance hall, or the person in charge
           of the same, who shall become cognizant of any violations
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                  of the provisions of this act, in, upon or about their pre-
                  mises, to immediately and at once direct the attention of
                  such violator to the provisions of this act, and upon a fail-
                  ure of such keeper of a hotel, boarding house, bar room,
                  drinking saloon, or place where liquor is sold, or dance hall,
                  or the person in charge thereof, to so do, he or they shall
                  be liable to pay a fine of not less than $5, normorethan $50.
  Duty of judges.       SEC. 12. It shall be the duty of the judges of the sev-
                  eral district courts of this territory, at the charging of the
                  grand jury of the several counties, to direct the attention of
                  the said grand juries to the provisions of this act,and require
                   that they make diligent inquiry as to any violation of the
                   same.
  DuomsfounMes.         SEc. 13. The boards of county commissioners of the sev-
                   eral counties of this territory are hereby directed and re-
                   quired to have printed in both English and Spanish a suffi-
                   cient number of copies of this act for the use of and to be
                   furnished to all persons applying for the same; and it is
                   made the duty of the several sheriffs and collectors of said
                   counties to furnish to each person with a license a copy of
                   this act, in both English and Spanish.
                        SEa. 14. All fines and penalties accruing from the
                   violation of the provisions of this act shall be paid into the
                   county treasury of the county in which such violation oc-
                   curs to the credit and for the benefit of the school fund of
                   said county.
                        SEC. 15. This act shall have full force and effect from
                   and after the first day of March, 1887.
                        Approved February 18, 1887.
